             Case 22-14766-SMG   Doc 28   Filed 09/12/22    Page 1 of 38




              UNITED STATES BANKRUPTCY COURT

                SOUTHERN DISTRICT OF FLORIDA                                  -
                                                                           a.-·.,-
                                                                                         - - --~
                                                                                          ·- ._, ·.
                                                                                     . ---•,
                                                                                     -- ·::    ,. ,,,..
                                                                                                             -· ·-•
                                                                                                          . •.-, c. -.




                  Fort Lauderdale Division

     In Re




     Ralph Levi. Sanders JR.                               Case No. 22-14766-SMG



     Chapter 13



     Debtor

     -------·----/

     OBJECTION to Bilu Law's Firm request to Withdraw as
counsel on Record, Request the motion to resign be denied due
to creating undo hardship and possible flnacial damage to the
grops of people and would create Undo Hardship on my
creditors, my neighbors who have the same property issue that 1
have, with the requirement of hiring a replacement law firm. in
           Case 22-14766-SMG   Doc 28   Filed 09/12/22   Page 2 of 38




Request Motion to withdraw be Denied or delayed until after
Bankruptc;y and LMM are set up and there is a effort made to get

attorney Steward to bring the vendor on board, The other 11
mortgages in my neighborhood have the same physical defective

title issue




 Undue hardship and harm to the following groups of people and
companies

  1. 19 families
  2. 11 Mortgages. Three of which are my creditors
  3. Indirect hardship Pubic good
  4 .. Hardship_Debtor



http://www.flmb.uscourts.gov > localrules > Rules




      Bilu law firm is hired to help set up my Chapter 13 and set up my

LMM such that my primary creditor Wells Fargo can help with the above

case which in turn will help my neighbors


Prejudicing the Client's Position
           Case 22-14766-SMG     Doc 28   Filed 09/12/22   Page 3 of 38




The court is less likely to allow withdrawal if withdrawal would materially

prejudice the client's ability to litigate the case. This may be the case when

a trial is imminent. Additionally, the court may not honor the request to

withdraw if the facts giving rise to the request to withdrawal are in dispute.

The court may have an evidentiary hearing to resolve the matter.


A judge is less likely to approve the withdrawal if the client will be

prejudiced or otherwise adversely affected by the lawyer's withdrawal, such

as if the case is close to trial. A lawyer makes a motion to be relieved as

counsel before he or she will be permitted to stop working on the case. He

or she cannot simply refuse to pass along information or act on the client's

behalf simply because the judge has not yet granted the motion. The court

can refuse to honor the request to withdraw. If the court does grant the

motion to withdraw, the client may have additional time to find new counsel.


The undue hardship would require one-two plus months just to find a

replacement Bankruptcy law firm. Lawyers usually do not like to take over

another lawyer's work.


      I am asking that Bilu law firm's request to resign   be denied. Bilu's law
firm agreed to stay on The stay will not create an undue hardship on the

creditors, esp with the 11 mortgages in my area.
             Case 22-14766-SMG    Doc 28   Filed 09/12/22   Page 4 of 38




Granting Bilu Law leave would unfairly ·            ··•:, including other mortgage

companies with the same title defect and cause damages to others,


Wells Faro has 3 of the 11 mortgages, BOA one and CITI bank one. The

results of my case can and will be used in the title defect case and

damages by other homeowners and lenders.


I need Bilu law to watch my back. In the MMM meeting, I can go over with

WF the damage to my home and other homes. I do not speak nor

represent the other homeowners.


The determination that the titles to the homes are defective is by South

Florida Water Management District, Fidelity National Title Insurance, Title

Insurance law firm (Scott Golden Law firm), and Old Plantation Water

control district.


      1. Fidelity National Title Insurance. Fidelity confirmed that the title to

the property is defective and by a sizable amount of land. Claim denied due

to Fidelity not liking the way the survey was done. There are counter cases

and I am not allowed to be Pro-Se. My creditor (Wells Fargo) is using the

same survey as mine.
            Case 22-14766-SMG     Doc 28   Filed 09/12/22   Page 5 of 38



2. Local law firm. Scott Golden Law firm. He confirmed that my home does

have a title defect at the cost of $3,500.00+. His recommendation is to sue

the City of Plantation. He is a two-lawyer law firm. He declined to take on

the litigation due to he does not have enough resources.


3. South Florida Water Management District (SFWMD). The engineer

confirmed the title is defective with additional land loss in addition to the

missing Plat land. He has assigned two engineers to take photos of the

damages and measurements of the damages.


4. In the 201 Os, the City of Plantation deepen the canal by 3 feet to help

with the stormwater drainage. On paper, there was not supposed to be any

damage.


5. In my mortgage, we (lender and owner) are supposed to reach for our

title policies to pay off the loan. Esp. If the property is not as described.

(paragraph 5) for misc proceeds.
           Case 22-14766-SMG    Doc 28   Filed 09/12/22   Page 6 of 38



The land for my area and another subdivision is incorrect due to an

easement in Broward County Records Book 49 Page 27 and Book 55 Page

21


The Plats reflect the canal as most other canals. Water(30 feet) and Canal

Maintenance Easement (20 feet). In reality, the CME does not exist, nor

has it ever existed, per Broward County records and photos.


The setback of my home building to the canal per SFWMD should be 40

feet. Per the survey, when I purchased my home, it was 14 feet. CME

never existed per Fidelity and SFWMD. The setback would require the

removal of the ALL of my bedrooms and bathrooms. This would be true for

the other homes on the east side of the canal.


In addition, per SFWMD stated that due to the defect, the City of Plantation

could remove the homes on the east side of the canal with no legal

repercussions., nine homes.


      I have asked the Lender for a copy of their title policy since the

mortgage references the insurance. But they have not provided the

Lenders' policy.
             Case 22-14766-SMG   Doc 28   Filed 09/12/22   Page 7 of 38



      The resignation of Bilu Law firm would create an undue hardship for

my creditors, myself, and my neighbors, who would use my case as a

precedent.


      Hardship


1. Time it would take to find another law firm that would be penalizing the

creditors


2. In addition, my creditor, Wells Fargo, has two other homes that are

impacted by the title defect situation of which my bankruptcy and LMM are

a stepping stone


3. Cost of hiring another law firm




Homeowner Insurance Damage: Law firm Project Advocates.


All of the homes along the canal have Defective Titles. Nineteen homes, 21

families, and 12 mortgages. Wells Fargo has a mortgage of 3 on the

homes. BOA 1, Citi 1. See attached.
            Case 22-14766-SMG     Doc 28   Filed 09/12/22   Page 8 of 38



The determination that the titles are defective is by the following

companies, government agencies, and law firms.


1. Fidelity National Title Insurance. Fidelity confirmed that the titles are

defective by a sizable amount of land. Claim denied they do not like the

survey that was done. The notion of the water on the survey


is not defined well enough for them. My creditor (Wells Fargo) is using the

same survey.


2. Local law firm. Scott Golden Law firm. He confirmed that my home has

the title defect at the cost of $3,500.00+. His recommendation is to sue the

City of Plantation. He is a two-lawyer law firm. He declined to take on the

litigation. He does not have enough resources.


3. South Florida Water Management District (SFWMD). Head Engineer

confirmed the title is defective with a lot of land loss in addition to the

missing land due to Plat. He has assigned two engineers to take photos of

the damages and measurements of the damages.


4. SFWMD stated they had transferred the canal system in Plantation to

the Old Plantation Water Control District (OPWCD) in 1984 to maintain the

canals
            Case 22-14766-SMG     Doc 28   Filed 09/12/22   Page 9 of 38




5. OPWCD stated (email) that the canal my home is on was given to the

City of Plantation in 2009.


6. OPWCD stated that the City of Plantation took ownership and control of

the canal. More land ownership was lost. (2,700 sq ft for me land lost

breakdown sheet. A minim of 9,000 sq feet out of 20,000.


7. What land people think they own, they don't. SFWMD states the City of

Plantation can level all the houses along the east side of the canal with no

legal issues.


8. In the 201 Os, the City of Plantation deepen the canal by 3 feet to help

with the stormwater drainage. On paper, there was not supposed to be any

damage.


9. In my mortgage, we (lender and owner) are supposed to reach for our

title policies to pay off the loan. If the property is not as described.

(paragraph L) for misc proceeds.


10. I have another lawyer who is working on the home valuation with all the

built-in issues.


The title to my home is physically defective per Fidelity National Title

Insurance and South Florida Water Management District. Fidelity does not
            Case 22-14766-SMG   Doc 28   Filed 09/12/22   Page 10 of 38



like the survey; the claim was denied, but they reference the Plats, which

shows the water and the non-existent canal bank easement.


The land for my area and another subdivision is incorrect due to an

improper easement.


Broward Records Book 49 Page 27 and Book 55 Page 21.


The Plats reflect the canal as most other canals. Water(30 feet) and Canal

Maintenance Easement (20 feet). In reality, the CME does not exist, nor

has it ever existed, per Broward County records.


The setback of my home building to the canal per SFWMD should be 40

feet. Per the survey, when I purchased my home, it was 14 feet. CME

never existed per Fidelity and SFWMD. The setback would require the

removal of the bedrooms and bathrooms.


I have asked the Lender for a copy of their title policy since the mortgage

references the insurance. The debtor is unfamiliar with how to ask,

discovery


There are 18 other homes in a similar situation (minus the foreclosure)


The lender has not attempted to collect on their Lenders Title Insurance.

policy
            Case 22-14766-SMG   Doc 28   Filed 09/12/22   Page 11 of 38




Bilu Law Firm has not presented any valid reason to resign, much less any

reason. The greater good outweighs a wish.


Sincerely




Plantation, Fl. 33317
              Case 22-14766-SMG          Doc 28     Filed 09/12/22     Page 12 of 38




                                                                                       0
Examples of difficulty of getting replacement attornies for a project have already started. that
cribbles the work and ability to repay the estate and the promises the Bilu made. Lawyers do not
like

Exhibit 1.1 & 1.2
Attorney Grace Robson had attempted to find a Bankruptcy attorney for me in late 2021.
Attorney Robson, now Judge Robson, was unsuccessful.

Exhibit 2
Purchase of 13 attorney referrals from Broward Bar

Exhibit 3
Major interruption of moving forward. I have no knowledge or any skill of LMM
The law firm that represented my creditor in 2019 (exhibit 3) is the same law firm as no (4).
When I got the confirmation from Fidelity Title insurance company, post Chapter 13 dismissal,
that my Title is defective, I forward the email to Wells Fargo/BNYM law firm.
The WF/BNYM responded that we need to work with the LENDER (5).
 How do I get the WF/BNYMt law firm to pull in the lender into the LMM?

This is why I hire Bilu to at least get advice or point me in what direction to look for an attorney

Exhibit 6 is another title insurance attorney.
I need help getting attorneys.

Per the paperwork from cases, 19-24331 and 22-1476 is the list of homeowners and lenders
that have the same title defect. Exhibit 7
There are 19 families that have missing land either by way of original flaw and/or the 2009-2011
engineering design.
There are 11 mortgages. Three of the mortgages belong to my creditor.

I need lawyers, them to leave

Exhibit 8, Bilu law firm blank retainer has they can leave whenever they. wish to. Page 3 is
critical to help pay the estate. I.e. negation

Exhibit 9 Withdraw motion was Sept 1, 2022, but the certificate did not go out until Sept 9, 2022



         o.
Exhibit 1 Bilu offers to close all of the material in their withdrawal. What material? What has
been accomplished? What training has there been? Normally a company stays until the
bankruptcy is over, after a few maintenance payments.
        Case 22-14766-SMG   Doc 28   Filed 09/12/22   Page 13 of 38



11. NO REASON given for the resignation. The client has not
done anything illegal or immoral or unethical
                     Case 22-14766-SMG                          Doc 28   Filed 09/12/22      Page 14 of 38




 I '\ 111 I)\ I \ 11 " I{\'\ k I~ l I' I ( ) ( ( Jl I< l                             'I   'JI j l   ',   J'',   t LJ,         ,,,
                                s
 \ 11 I) I) I I I) I I R I C I ( ) I. I I ( )R l I).\                               ' . ''   l l          '' ·-      '.      1   :✓   •   I '1



             BO~IE » JL"'DG:ES

             Orlando
             Judge Grace E. Robson .. NEW'*

             Judge Tiffany Geyer **NEW••
LES
             Judge Karen S Jennemann (RETIRED)

             Judge Lori V. Vaughan
~s           Judge Arthur B. Briskman (RETIRED)

             Tampa
             Judge Roberta A. Colton




      RE: Pro Bono referral for Bankruptcy and Insurance

J9!\         Grace Robson <grobscri~•mrth!aw.ccm,                                                        ,S     ~.10:1 )w!   26 2021 at iO 33 H\1
~            To: ralph sanders


     Hi Ralph - I received your emaffs - what time can you talk today?

     I can give you a caD around 1pm if that works for you



     Grace




                               MARKOWITZ




      4e                       RINGEL
                               TRUSTY
                               HARTOG
                   Case 22-14766-SMG                      Doc 28             Filed 09/12/22                  Page 15 of 38



                                                               Advanced
                                                                                                                                 f_~
:. Yahoo/lnbox     from:lrx@browardbar.org browardbar                       v




                   Photos       Documents


                                                                                                                                         Sort "

 August

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1..    Yahoo

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1...   Yahoo

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service .. LRS 1...    Yahoo        Aug 24


 Earlier in 2022

           lrx@browardbar.org               Re: Referral From Broward County Bar Asso La,,yer Referral Service ......    Yahoo         Jar 13

          LRX@browardbar.org                Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1..    Yahoo         Jar H

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1..    Yahoo         Jar 11

          LRX@browardbar.org                Referral From Broward County Bar Asso Lawyer Referral Service ... LRS 1...   Yahoo         Jar 11

 2021

          LRX@browardbar.org                Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1..    Yahoo    12/1:)/2021


          LRX@browardbar.org                Referral From Broward County Bar Asso Lawyer Referral Service ... LRS 1...   Yahoo    11/1€/2021

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1...   Yahoo    11/16/2021

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1...   Yahoo    11/16/20.

           LRX@browardbar.org               Referral From Broward County Bar Assa Lawyer Referral Service ... LRS 1...   Yahoo     3/23/20
                               Case 22-14766-SMG             Doc 28      Filed 09/12/22       Page 16 of 38
August

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo      Aug 24

          LRX@browardbar.org

          LRX@browardbar.org
                               Referral From Broward County Bar Assa Lawyer Referral Service Browa ...

                               Referral From Broward County Bar Assa Lawyer Referral Service Browa ...
                                                                                                         Yahoo

                                                                                                         Yahoo
                                                                                                                    Aug 24

                                                                                                                    Aug24
                                                                                                                              ~~
Earlier in 2022

          lrx@browardbar.org   Re: Referral From Broward County Bar Asso Lawyer Referral Service Gr...   Yahoo       Jan 13

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo       Jan 13

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo       Jan 11

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo       Jan 11

2021

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo   12/10/2021

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo   11/16/2021

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo   11/16/2021

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo   11/16/20.

          LRX@browardbar.org   Referral From Broward County Bar Assa Lawyer Referral Service Browa ...   Yahoo    3/23/20
                          .1..7-.61"'1.JJ.I.-.I.   .u.1., J.~Clll'll   L~Vl o.>CU1U~1~, .Jl.

            Casetype:
           Case   22-14766-SMG
                       bk Chapter: 13Doc   28 Yes
                                       Asset:    Filed
                                                    Vol:09/12/22   PageD.17
                                                         v Judge: Peter     of 38
                                                                          Russin
    Date ffled: 10/25/2019 Date of last filing: 11/24/2021 Plan confirmed: 05/21/2020
                             Debtor dismissed: 09/15/2021
                             Date terminated: 11/24/2021



                                                   Attorneys

Michael H. Johnson
3601 W. Commercial Blvd. #31
                                                      Ralph Levi Sanders, Jr.
Ft. Lauderdale, FL 33309
                                                      561 SW 60 Ave.
954-535-1131
                                         representing Plantation, FL 33317
954-641-7750 (fax)
                                                      (Debtor)
info@attomeydebthelper.com
                                                      PROSE
 Assigned: 10/25/2019
  TERMINATED: 06/19/2020
PeterWKelly
P. W. Kelly Associates, P.A.                          Specialized Loan Servicing LLC
P.O. Box 33-1083                                      c/o Gavin Stewart
Miami, FL 33233-1083                     representing POB 5703
786-766-0012                                          Clearwater, FL 33758
pkelly@pwkpa.com                                      (Creditor)
 Assigned: 08/02/2021
Natalie Zindorf Lea
Bonial & Associates, P.C.
                                                      THE BANK OF NEW YORK MELLON
14841 Dallas Pkway # 425
                                                      14841 DALLAS PKWY SUITE 425
Dallas, TX 75254                         representing
                                                      Dallas, TX 75254
214-918-9829
                                                      (Creditor)
Natalie.Lea@bonialpc.com
 Assigned: 10/31/2020
Christian A. Mccue                                    Christian McCue
The McCue Law Firm, P.A.                              6245 N Federal Highway
6245 N Federal Hwy# 418                               #418
Ft. Lauderdale, FL 33308-1998            representing Ft. Lauderdale, FL 33308
954.267.9377                                          954-267-9377
cbristian.mccue@mccuelaw.com                          cbristian.McCue@mccuelaw.com
 As . d: 01/04/2021                                   (Mediator)
Gavi;NS~art-..._,., . .,. -,..... ~ ~- ······· . Specialized Loan Servicing LLC
POB 5703                                                           c/o Gavin Stewart
Clearwater, FL 33765           representing                        POB 5703
727-565-2653                                                       Clearwater, FL 33758
    stewartlegalgroup.com                                          (Creditor
 Assz~r,e;a.-~~kll.l..z___ _ _ _ _ _ __

Matthew Tillma
14841 Dallas Parkway Suite 425
                                                      THE BANK OF NEW YORK MELLON
Dallas, TX 75254
                                                      14841 DALLAS PKWY SUITE 425
913-214-5034                             representing
                                                      Dallas, TX 75254
972-499-8452 (fax)
                                                      (Creditor)
matt.ecfiling@gmail.com
 Assigned: 10/21/2020
                        rn~r-a ,:n::1 vu;.:: ~l::llll::I
  I
Case 22-14766-SMG             Doc 28       Filed 09/12/22
                                                                          I
                                                               Page 18 of 38
  I                         Transaction Receipt                           I
  I                           09/12/2022 13:17:15                         I
  !PACER Login: llratphlevi            Jlcnent Code: I                     I
  jnescription:      IIAttorney List   Jlsearcb Criteria: II t 9-24331-PDR I
  !Billable Pages:   II I              llcost:            110.10           I
                   MM-.1."T/VU-~.l'f.l." J.'4.1.pU L~Vl ..,ClUU~l.), JI.

   Casetype:
   Case 22-14766-SMG
             bk Chapter: 13Doc 28 Yes
                             Asset: Filed
                                       Vol:09/12/22     PageM19
                                             v Judge: Scott      of 38
                                                               Grossman
          Date filed: 06/20/2022 Date of last filing: 09/09/2022




Nicholas G Rossoletti
2760 W. Atlantic Boulevard
                                     Attorneys


                                                Ralph Levi Sanders, Jr.
                                                                              1111
Pompano Beach, FL 33069                         561 SW 60 Ave.
                                   representing
954 789 1701                                    Plantation, FL 33317
nrossoletti@bilulaw.com                         (Debtor)
 Assigned: 06/20/2022
Gavin N Stewart
POB 5703                                        Specialized Loan Servicing LLC
Clearwater, FL 33758                            P.O. Box 5703
                                   representing
727-565-2653                                    Clearwater, FL 33758
bk@stewartlegalgroup.com                        (Creditor)
 Assigned: 07/12/2022


        I                     PACER Service Center                                   I
        I                         Transaction Receipt                                I
        I                           09/12/2022 00:49:58                              I
        !PACER Login:      llralphlevi       llcuent Code:       I         - ----- -
        lnescription:      !!Attorney List   ISearch Criteria:   22-14766-SMG            )
        !Billable Pages:   11 1              ICost:              IV->V
                                                                                _/
RE: BK 19-24331 Loan 1018459424 Re: Title/land ownership issue went from bad to uglier. Fw: Parcel 10_504111130380 561_sw_60_ave_Plantation
                                            Case 22-14766-SMG                             Doc 28             Filed 09/12/22        Page 20 of 38
From: Torrez. Benny (benny.torrez@nationalbankruptcy.com)

To:     ralph_l_sanders@yahoo.com; crdocs@sls.net; bk@stewartlegalgroup.com; Wesley.Kozeny@BonialPC.com; Matthew.Tillma@BonialPC.com
Cc:     Kelly.DeSousa@BonialPC.com                        -~-= ··------=====--
Date: Wednesday, October 20, 2021 at 01:09 PM EDT



Good afternoon,



We do not have an active file open for this case. Also, BK was filed in FL and it looks like the BK case was dismissed on 9/15/2021.



Unless I'm missing something, debtor should be talking directly to the lender.




Thank you,



Benny Torrez•

Operations Supervisor I Bonial & Associates, P.C.

14841 Dallas Parkway, Suite 425 I Dallas, TX 75254

D: 972-499-8791 I F: 972-499-8544

~:,.Torrez@BonialPC.com



Serving the states of California, Kansas, Missouri, Nebraska, Oklahoma & Texas

•Not licensed to practice law.



Bonlal & AssoclalN, P.C. Is certmed as• Women's Bual,_. Em8rprlse (WBEJ and LGBT Busl,_. Enterprise (LGBTBE)




                         nglcc,
                           (l'•' ! f-! ~:::::~t

-should escalation be required, please contact the following individual: Chris Vemeyen at 972-200-7948 or ~~)(!ID@Bonia!PC.com-



This communication contains infonnation that Is intended only for the recipient named and may be privileged, confidential, subject to the attorney-client privilege, and/or exempt from disclosure
under appricable law. If you are not the Intended recipient or agent responsible for delivering this communication to the Intended recipient, you are hereby notified that you have received this
communication In error, and that any reviaw, disclosure, dissemination, distribution, use, or copying of this communication Is STRICTLY PROHIBITED. If you have received this communication
in error, please notify us immediately by telephone at 1-600-766-n51 or 1-972-643-6600 and destroy the material in its entirety, whether in electronic or hard copy format.



This firm is a debt collector and any information we obtain from you will be used for that purpose.



You may opt out of receiving further email communications to this address by replying with the word "STOP" in the subject line




 From: DeSousa, Kelly <Kelly.DeSousa@BonialPC.com>
 Sent: Tuesday, October 19, 202110:35 PM
 To: 'ralph sanders' <ralph_l_sanders@yahoo.com>; crdocs@sls.net; bk@stewartlegalgroup.com; Kozeny, Wesley <Wesley.Kozeny@BonialPC.com>; Tillma, Matthew
 <Matthew.Tillma@BonialPC.com>; Torrez, Benny <Benny.Torrez@NationalBankruptcy.com>
 Subject: RE: BK 19-24331 Loan 1018459424 Re: Title/land ownership issue went from bad to uglier. Fw: Parcel 10_504111130380 561_sw_60_ave_Plantation



 [Adding Benny Torrez as he is Wes's PL for our IL portfolio]



 Thank you.



 Kelly DeSousa I Bankruptcy Paralegal

 Boni al & Associates, P. C.

 12400 Olive Blvd. Suite 555 J St. Louis, MO 63141
 P: 314.372.84191 F: 314.372.8410

 Kdly DeSouy@RopjatPC.com
 Serving the states of CA, KS, MO, NE, NY, OK & TX

 •Not licensed to practice law
Fw: Clajm 908629                     Case 22-14766-SMG                        Doc 28           Filed 09/12/22               Page 21 of 38
 \. . •.

From: ralph sanders (ralph_l_sanders@yahoo.com)

To:        roxana@bloomfieldros.com

Date: Wednesday, August 31, 2022 at 03:23 PM EDT



Denial. there are more emails

 ----- Forwarded Message ----
 From: Mahone-Davis, Phitina <phitina.mahone-davis@fnf.com>
 To: ralph_l_sanders@yahoo.com <ralph_l_sanders@yahoo.com>
 Cc: Korte Sierra, Tiffany <Tiffany.KorteSierra@fnf.com>
 Sent: Friday, September 24, 2021 at 09:57:02 AM EDT
 Subject: Claim 908629

                                                              This message was sent securely using Zix ·



 Good day,


 Please find attached a correspondence from Tiffany Korte Sierra, Claim Counsel, AVP regarding the
 above referenced claim. Please direct all communication pertaining to this claim to her and refer to
 Claim Number 908629 in all communications. Ms. Korte Sierra can be reached at (904) 854- 8524
 or Tiffan}'..KorteSierra@fnf.com.




 Phitina Mahone-Davis
 Legal Assistant

 Toll Free: 877.862.9111

 Facsimile: 904.633.3060

 Email: P.mahone-davis@fnf.com

 Fidelity National Title Group

 601 Riverside Avenue, Building S, 4th Floor

 Jacksonville, FL 32204




 This email is intended solely for the use of the individual to whom it is addressed and may contain information that is privileged, confidential or otherwise exempt from disclosure
 under applicable law. If the reader of this email is not the intended recipient or the employee or agent responsible for delivering the message to the intended recipient, you are hereby
 notified that any dissemination, distribution or copying of this communication is strictly prohibited. If you have received this communication in error, please immediately notify me and
 return the original message to me at the above listed email address.
    .. - . ---· . ··- ····-····--·-·· --··--···-- ... -···- ···----..:,- ·- r-·-r-··----,, -··-· -· --····--··-·-· -··- ·---,, -- .--····-..:,--· ..   J-- -· -   ··-- -··-

 intended recipient of this communication, you are herebyDoc
                              Case 22-14766-SMG              notified
                                                                   28 to:Filed
                                                                          (i) delete the message
                                                                                 09/12/22        and 22
                                                                                              Page       of 38 (ii) do not disclose,
                                                                                                     all copies;
 distribtilte or use the message in any manner; and (iii) notify the sender immediately.
~




' This message was secured by 'lJA®.


          908629 Reconsideration Request Date 9.. 24.2021.pdf
          233kB
           Case 22-14766-SMG           Doc 28    Filed 09/12/22       Page 23 of 38




                           West Side of Canal
                                                                           7
#   HSE    Ave/ST       Owner                   Washse     Mortgage Comp           Mortga   Dam    Phone
    #                                           paidoff                            gelD     aged
1   400    SW 62 th     JONES, CIARA            Yes        2101 llc                         y
           AVE
2   490    SW 62
                   th   ESCOBAR, ALEX HIE                  Too many mortgages               y
                        OJEDA, DIANETT
           AVE                                             in Broward CNTV
                                                           Records for differ
                                                           properties & house
                                                           of cards
3   500    SW 62
                   th
                                                           Wells Fargo/ 'house              y
           AVE          DAVID N MALONE JR L VTR            of leveraging'
                        JESSICA P MALONE LI' 'TR
                            6811 W CYPRESSHI :AD
                         DR PARKLAND FL
4   516    SW 62
                   th   PAULSON, WE &                      100k Revolving credit            y
                        VIVIAN T 6900 E
           AVE          CYPRESSHEAD
                                                           BOA
                        DR PARKLAND FL 330
                        67-1606
5   530    SW 62
                   th                                      MORTGAGE                         y
                        HORNIG, KENNETH A                  ELECTRONIC
           AVE          &CATHY                             REGISTRATION
                                                           SYSTEMS INC
                                                           DIRECTORS FINANCIAL
                                                           GROUP
6   540    Sw62 ave                             Was        Tropical Financial               N?
                        HESSE, JONATHAN &
                                                paid off   Credit Union                     (REB
                        CYNTHIA
                                                                                            UILT
                                                                                            SEA
                                                                                            WAL
                                                                                            LS?}
7   550    Sw62 ave     MOHLER, BRITTANY &                 Citi Mortgage                    N?
                        WILLIAM R Ill
                                                                                            (REB
                                                                                            UILT
                                                                                            SEA
                                                                                            WAL
                                                                                            LS?}
8   560    Sw 62 ave    HEURTAUX, PATRICIA                 MORTGAGE                         y
                        GHALAYINI,                         ELECTRONIC
                        MOUHIDDINE                         REGISTRATION
                                                           SYSTEMS INC
                                                           SOUTH POINT
                                                           FINANCIAL SERVICES
                                                           INC


9   6101   Sw6          OSETROV, VLADIMIR                  The Mortgage Firm                N
                        & KSENIA
            Case 22-14766-SMG     Doc 28    Filed 09/12/22        Page 24 of 38



             street
                                                                                      7- l
10   xxxx    SW6st                                                                     N
             bridge
             East Side of Canal
#    Hse#    Ave/St                                      Mortgage Comp            #
11   455     SW60ave   VILLAVERDE, BIARDA   Stll Paid    Paid                          y
                                            off          Off_Cash_Purchase_
                                                         2015
12   6001    SW5       CASTILLO, ALFREDO                 ME RS/Nation Point            y
                       &KIMBERLY A
             Street
13   6000    SW5       DE AMORIM, RONALD                 JPMorgan_Chase                y
                       HIE
             Street
                       KEITHS, LINDA L
14   515     SW60ave   OLESKI, DANIEL T &   Still paid   Paid Off: Life Savings        y
                       HOLLYM
                                            off
15   531     SW60ave                        Still Paid   Paid Off: Life Savings        ??
                       SCHULTZ, JOHN L
                                            off

16   545     SW60ave   COOKE, MABLE E       Still Paid   Paid off:Live Savings         y
                                            off
17   561     SW60ave   SANDERS, RALPH                    WF/BNYM                       y
18   6051    SW 6th    CARDELLI, DINO &                  WF                            y
                       JOSANA
             STREET
                 Case 22-14766-SMG         Doc 28     Filed 09/12/22    Page 25 of 38



                            RON S. BILU, P.A. / BILU LAW, P.A.
                        ATTORNEY FEE AGREEMENT-BANKRUPTCY
                                           January 26, 2022
                                                                                             r
Client:Ralph Sanders

           Re:    Chapter 13 Bankruptcy

       This Agreement describes the terms and conditions under which this frrm is offering to
represent you in connection with the following:

           Client desires Attorney services for the filing of a Chapter 13 Bankruptcy. Client
           understands that Attorney can only attempt to improve situation and that no results have
           been promised or guaranteed. This agreement shall retain the FIRM's services with regard
           to the completion of the application and representation during the filing of the Chapter 13
           Bankruptcy.

        This is a legal contract, and the terms and conditions of our agreement with you are
described in some detail. This Agreement not only establishes the terms of our contract with
you, it will help to prevent any misunderstandings.

        It is the firm's strict policy to obtain the written approval of every client to the terms and
conditions of representation; therefore, we will take no action on your behalf until you have
signed this Agreement and have paid the fees hereunder.

        You agree to keep our office advised of your home and business telephone numbers and,
if appropriate, your e-mail address so that we can locate you during the day or evening hours.
You agree to promptly inform us of all changes in your contact information as soon as such
changes occur.

      If the matter involves litigation, you may be required to attend court appearances and
comply with discovery requests and deposition notices.

       If our representation is to collect money owed to you, you grant us a lien on the claim or
cause of action and upon any sum of money or property to be recovered in order to secure any
unpaid attorney's fees or costs incurred as discussed herein below. All monies collected shall be
disbursed through our office.

Initial:
                  Case 22-14766-SMG         Doc 28     Filed 09/12/22     Page 26 of 38



This Agreement will require payment of a non-refundable flat fee.

           We have agreed upon a $4,500.00 nonrefundable flat fee for filing of Chapter 13
           Bankruptcy and attorney services as described in Paragraph 1.01. This shall not include
           costs and filing fees of $463.00, payment of which shall be the responsibility of the client
           only.

              •   $313.00 filing fee for Chapter 13
              •   $150.00 Chapter 13 costs

Initial:

       The attached Exhibit "A" shows those items which are specifically included in, and those
items which are specifically excluded from, the flat fee agreement.

       Please be advised that any work which is not included in the flat fee, will be billed at our
law firm's hourly rate as follows:

           Ron Bilu & Nicholas Rossoletti                                       $395
           Law Clerk / Paralegal                                                $250

       The attorney's fees do not include court costs, depositions, appraisal fees, mileage
charges, parking expense, long distance telephone charges, postage, copy and certified copy
expenses, delivery charges, and any other out-of-pocket costs. These costs will be treated as
additional expenses and will be included in our bill.

Initial:

       All reasonable expenses incurred by the Attorney in the handling of this legal matter shall
be paid by Client as incurred You agree to pay those reasonable expenses. If payments are not
made promptly to us as requested, we reserve the right to immediately withdraw from
representing you in any and all matters that the law firm is handling. You agree to the
withdrawal.

Initial:

        The expenses contemplated include but are not limited to court costs, consultants' costs,
bonds, records, copy costs, certified copies, transcripts or depositions, telephone calls,
duplication costs, photographs, expert and other witness fees, cost of investigation and
investigator's fees, postage, travel, parking, and any other case expenses. Client shall deposit
with Attorney an expense deposit in the amount of $0.00 which shall be deposited in the
Attorney's Trust Account. The Attorney may draw against the expenses in the trust account as
the expenses are incurred.
              Case 22-14766-SMG            Doc 28     Filed 09/12/22     Page 27 of 38



         Any expenses not timely paid by Client shall be deducted by the Attorney prior to Client
receiving her interest in the amount set forth above. Client shall remain liable and promptly pay
for all expenses incurred in this representation.

                   a.     Client agrees to make such additional deposits for expenses as are required
                   by the Attorney within ten (10) days from the statement's date.

                   b.     Unpaid fees and expenses, if not paid within ten (10) days from the
                   statement's date, shall bear interest at the rate of 18 percent per annum until paid.

                   c.     All sums due and to become due are payable at the Attorney's office in
           ~~pano ~each, Broward County, FLQRIQ~!------------~
       The Attorney may withdraw from the case and cease to represent Client for any reason,
  eluding without limitation: Client's failure to timely pay fees and expenses or deposits in
accordance with this Agreement, subject to the professional responsibility requirements to which

               ___,.,.,,.-
Attorneys are subject.
           ,--.,
        It is     er understood and agreed that upon such termination of any services of the
Attorney, any of Client's deposits remaining in Attorney's Trust Account shall be applied to any
balance remaining owing to Attorney for fees and/or expenses and any surplus then remaining
shall be refunded to Client

Initial:

       Attorney is granted a limited power of attorney so that the Attorney may have full
authority to prepare, sign and file all legal instruments, pleadings, drafts, authorizations and
papers as shall be reasonably necessary to conclude this representation, including settlement
and/or reduce to possession any and all monies or other things of value due to Client under this
claim as fully as Client could do so in person.

        I the matter requires negotiation, we will negotiate with the opposing party on your
 ehalf. We will not conclude or settle the matter without your approval. Please do not
communicate with any of the parties, witnesses or attorneys in the case without our involvement.
Client grants to the Attorney a power of attorney to handle negotiations and settlement
discussions regarding Client's legal matter to the same extent as fully as Client could do so in
 erson. You authorize us with your power of attorney to sign court or other legal documents
  hich may be required in the course of the case. Also, you also will designate our law firm as
 our attorney-at-law and in-fact to act in your name, sign legal pleadings on your behalf and to
  rform the acts necessary and appropriate to effect the above described legal representation.

                   a.     This expressly includes the right to sign Client's name on and to any
                   insurance company drafts, money orders, cashier's checks, checks or other
                   negotiable instruments made payable to the Attorney and Client, the Attorney, or
                   to Client without the joinder of the Attorney, submitted to the Attorney on behalf
                   of Client in full or partial settlement of this case.
             Case 22-14766-SMG          Doc 28     Filed 09/12/22     Page 28 of 38


                                                                                               Y-)
               b.      This limited power of attorney further authorizes the Attorney to place the
               monies, referred to above, in the Attorney's trust account and from that trust
               account, make distributions and payments to the Attorney for the agreed to fee
               stated above, reimbursement to Attorney for any and all expenses incurred by the
               Attorney in handling this case, payments to Client of Client's interest in the
               monies recovered as stated above, and payments to parties other than Client and
               Attorney for their services performed, fees charged or bills rendered in connection
               with representing Client, including but not limited to expert witness fees, trial
               preparation bills paid to outside services, court reporter fees, deposition fees,
               investigative services, costs of exhibits or other expenses incurred by Attorney on
               behalf of Client
       No settlement shall be made without Client's approval, nor shall Client obtain any
settlement on the aforesaid claims without the Attorney's approval.
       We cannot guarantee any expected outcome or conclusion of the legal matter due to
numerous and complicated factors which are beyond our control. We make no express
warranties concerning this transaction, and hereby expressly disclaim any implied warranties
concerning it. It is expressly understood and agreed that no other representations have been
made to you except those set out in this Agreement. It is expressly agreed and understood that
no promises or guarantees as to the outcome of the case have been made to Client by
Attorney. It is further expressly understood and agreed that no other representations have
been made to Client, except for those set out in this Agreement.

Initial:

        Client shall keep the Attorney advised of Client's whereabouts at all times, and provide
the Attorney with any changes of address, phone number or business affiliation during the time
period which Attorney's services are required. Client shall comply with all reasonable requests
of the Attorney in connection with the preparation and presentation of Client's legal matter.

        The Attorney may, at Attorney's sole discretion and expense, employ any other person or
service that the Attorney believes is necessary to help or assist in this legal representation.

       This Agreement shall be construed under and in accordance with the laws of Florida, and
venue for the adjudication of any dispute relating to this Agreement shall be Broward County,
FLORIDA.
        This Agreement shall be binding upon and inure to the benefit of the parties hereto and
their respective heirs, executors, administrators, legal representatives, successors and assigns
where permitted by this Agreement.
        In case any one or more of the provisions contained in this Agreement shall, for any
reason, be held to be invalid, illegal, or unenforceable in any respect, such invalidity, illegality,
or unenforceability shall not affect any other provisions thereof and this Agreement shall be
construed as if such invalid, illegal, or unenforceable provision had never been contained herein.
              Case 22-14766-SMG          Doc 28    Filed 09/12/22     Page 29 of 38



       This Agreement constitutes the sole and only agreement by and between the
supersedes any prior understandings or written or oral agreements between the parties
                                                                                         parti!: /
concerning the subject matter discussed herein.
       Any controversy or claim arising out of or relating to a fee charged pursuant to this
Agreement shall be settled by arbitration und~ the fee arbitration rule of the Rules Regulating
The Florida Bar. Judgment upon the award rendered may be entered in any court having
competent jurisdiction.
NOTICE: This agreement contains provisions requiring arbitration of fee disputes.
Before you sign this agreement you should consider consulting with another lawyer ab()ut
the advisability of making an agreement with mandatory arbitration requirements.
Arbitration proceedings are ways to resolve disputes without use of the court system. By
entering into agreements that require arbitration as the way to resolve fee disputes, you
give up (waive) your right to go to court to resolve those disputes by a judge or jury. These
are important rights that should not be given up without careful consideration.

                     TAX DISCLOSURE AND ACKNOWLEDGMENT:

       THE CLIENT IS ADVISED TO OBTAIN INDEPENDENT AND
       COMPETENT TAX ADVICE REGARDING LEGAL AND BUSINESS
       MATTERS SINCE LEGAL AND BUSINESS TRANSACTIONS CAN GIVE
       RISE TO TAX CONSEQUENCES.

       THE UNDERSIGNED LAW FIRM AND ATTORNEY HAVE NOT
       AGREED TO RENDER ANY TAX ADVICE AND ARE NOT
       RESPONSIBLE FOR ANY ADVICE REGARDING TAX MATTERS OR
       PREPARATION OF TAX RETURNS, OR OTHER FILINGS,
       INCLUDING, BUT NOT LIMITED TO, STATE AND FEDERAL INCOME
       AND INHERITANCE TAX RETURNS.

       FURTHERMORE, THE CLIENT SHOULD OBTAIN PROFESSIONAL
       HELP REGARDING THE VALUATION AND LOCATION OF ALL
       ASSETS WHICH MAY BE THE SUBJECT OF A LEGAL MATTER
       INCLUDING BUT NOT LIMITED TO: PROPERTY OF ANY ESTATE,
       PENSIONS, EMPLOYMENT BENEFIT AND PROFIT SHARING
       RIGHTS THAT MAY BE CONTROLLED BY ANY OTHER PARTY TO
       THE LEGAL MATTER.
       I certify and acknowledge that I have had the opportunity to read this Agreement and the
attached Exhibit "A" to this agreement as well. I further state that I have voluntarily entered into
this Agreement fully aware of its terms and conditions.

       SIGNED on this _ _ _ _day of _ _ _ _ _ _ __, 2022.



                                              RALPH SANDERS
   Case 22-14766-SMG   Doc 28   Filed 09/12/22   Page 30 of 38




SIGNED on this _ _ _day of _ _ _ _ _ _ __, 2022.


                            RONS. BILU, P.A.
                            BILU LAW, P.A.

                            BY: _ _ _ _ _ _ _ _ _ _ _ _ __
                            Ron S. Bilu
                            2760 W ATLANTIC BLVD
                            POMPANO BEACH, FLORIDA 33069
                            (954) 596-0669
                            (954) 427-1518 (telefax)
                            Florida Bar Number: 632651
                            E-Mail: rbilu@bilulaw.com
            Case 22-14766-SMG          Doc 28     Filed 09/12/22     Page 31 of 38



       ATIORNEY-CLIENT COMMUNICATION: THIS DOCUMENT AND ITS
        CONTENTS CONSTITUTE LEGALLY PRWILEGED INFORMATION
                                                                                              Y-- h
                            EXHIBIT "A" Uncontested Bankruptcy

Items Included in a Flat Fee Arrangement:
1.     Meet with the client, review the information and factual background applicable to the
       matter.
2.     Explain bankruptcy alternatives to the client.
3.     Prepare the petition for bankruptcy and appropriate schedules.
4.     Attend one (1) creditor's meeting with the client
5.     Limit the total time for discussing the bankruptcy with the client and/or client's creditors,
       to two (2) hours if required.

Items NOT Included in a Flat Fee:
1.    Research or location and determination of debts, judgments or liens against the debtor or
      her property.
2.    The client is advised to have a title company or other service check for any and all liens,
       judgments, claims, debts or contingent liabilities against the client.
      NOTE: FAILURE TO LIST ANY DEBT, LIEN, CLAIM, CAUSE OF ACTION,
      JUDGMENTS, LITIGATION (ANY PENDING CASE:                                    INCLUDING
      DESIGNATION OF COURT, STYLE OF CASE, NAME AND ADDRESS OF
       OPPOSING COUNSEL) OR ANY OTHER LIABILITY, CONTINGENT OR
       OTHERWISE, MAY RESULT IN SAID DEBT OR LIEN NOT BEING
      DISCHARGED IN THE BANKRUPTCY.
      IT IS THE CLIENT'S SOLE RESPONSIBILITY TO DETERMINE ANY AND
      ALL DEBTS AND LITIGATION AS MENTIONED ABOVE SO THAT THEY
      MAY BE LISTED IN THE BANKRUPTCY SCHEDULES.
      THE LAW FIRM AND ATTORNEY ARE NOT RESPONSIBLE FOR THE
      CLIENT'S FAILURE TO LIST ANY DEBTS, LffiGATION, CONTINGENCIES,
      BILLS OR OBLIGATIONS THAT ARE NOT WRITTEN IN fflE
      BANKRUPTCY INFORMATION SHEET WHICH THE CLIENT SUBMITTED
      TO THE ATTORNEY AND UPON WHICH ATTORNEY RELIED IN
      PREPARING THE CLIENT'S BANKRUPTCY PETITION AND SCHEDULES.
3.    Representation in any adversary hearings or responses filed thereto, including but not
      limited to, motions to lift the automatic stay, motions to dismiss the bankruptcy, motions
      to convert the bankruptcy from one chapter to another, such as a Chapter 11 or 13 to a
      Chapter 7.
4.    Motions applicable to removing non-purchase money liens, accepting or rejecting leases
      or any other motion or hearing that may be advisable.
5.    Post-petition complaints or hearings of any adversarial nature.
6.    Time required for reviewing, drafting and proposing a Chapter 11 or Chapter 13 Plan.
7.    Any phone calls, letters, legal research, work, correspondence, or any other legal services
      required to amend or revise the bankruptcy petition or schedules.
8.    Any legal work required to respond to requests from the Trustee which may arise at the
      creditor's meeting, including but not limited to, request for information, request for
           Case 22-14766-SMG          Doc 28    Filed 09/12/22     Page 32 of 38




9..
      amended petitions or schedules, requests for documents or explanations.           y,. -, 7
      All hearings, depositions, or creditor's meetings (other than the first creditor's meeting).
10.   Attending the discharge, reaffirmation or other hearings with the client, (except the first
      scheduled creditor's meeting) if the same is required. Attendance at second or
      rescheduled creditor's meeting hearings must be paid for by the client and are not
      included in the flat fee.
11.   REMOVAL OF LIENS: Liens may remain after the discharge to both personal and real
      property. A court filing, motion and hearing may be required in both bankruptcy court
      and state court.
      THE CLIENT IS ADVISED THAT A SEPARATE APPLICATION PROCEDURE
      AND HEARING MAY BE REQUIRED TO REMOVE ANY ABSTRACT OF
      JUDGMENT LIENS WHICH MAY BE FILED AGAINST THE CLIENT
      NOTWITHSTANDING THE BANKRUPTCY COURT DISCHARGE ORDER
      THAT THE CLIENT MAY RECEIVE. THE CLIENT MAY NEED TO RETAIN
      Tms LAW FIRM OR ANOTHER ATTORNEY AFTER THE BANKRUPTCY IS
      COMPLETED IN ORDER TO REMOVE ABSTRACT OF JUDGMENT LIENS.
12.   Any post-bankruptcy petition or discharge matters including but not limited to objections
      to discharge ability, filing Applications to Remove Judgment Liens on property on which
      abstract of judgments or other liens may exist.
13.   Any matter other than those listed above under the flat fee arrangement.



      SIGNED on this _ _ _day of _ _ _ _ _ _ _~ 2022.




                                            RALPH SANDERS


      SIGNED on this _ _ _ _day of _ _ _ _ _ _ __, 2022.


                                            RONS. BILU, P.A.
                                            BILU LAW, P.A.

                                            BY: _ _ _ _ _ _ _ _ _ _ _ _ __
                                            Ron S. Bilu
                                            2760 W ATLANTIC BLVD
                                            POMPANO BEACH, FLORIDA 33069
                                            (954) 596-0669
                                            (954) 427-1518 (telefax)
                                            Florida Bar Number: 632651
                                            E-Mail: rbilu@bilulaw.com
              Case22-14766-SMG
              Case 22-14766-SMG Doc
                                 Doc28
                                     20 Filed
                                         Filed09/12/22
                                               09/01/22 Page
                                                         Page331 of
                                                                 of 38
                                                                    2




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DMSION
                                 www.flsb.uscourts.gov

Inre:

RALPH LEVI SANDERS, JR.                                              Case No. 22-14766-SMG

                                                                     Chapter 13
        Debtor.
------------I
     DEBTOR'S COUNSEL'S MOTION TO WITHDRAW AND MOTION FOR
  EXTENSION OF TIME TO COMPLY WITH ALL OUTSTANDING DEADLINES IN
                     RELATION TO THIS MATTER

        Undersigned counsel, as attorney for the debtor, RALPH LEVI SANDERS, JR., hereby

moves the court for entry of an order permitting the withdrawal of Ron S. Bih1, Esquire, Nicholas

G. Rossoletti, Esquire, Andrea Valencia, Esquire and Bilu Law, P.A. as attorney for the debtor and

the extension of all outstanding deadlines in relation to this matter and states:

    1. Ron S. Bilu, Esquire, Nicholas G. Rossoletti, Esquire, Andrea Valencia, Esquire and Bilu

        Law, P.A. are presently counsel for the Debtor, Ralph Levi Sanders, Jr.

   2. Irreconcilable differences have arisen between counsel and the debtor which require the

        withdrawal of counsel.

   3. The Debtor is in the process of retaining counsel relating to claims relating to the title of

        his principal residence as well as attempting to modify the mortgage on his homestead

        property through the Mortgage Modification Mediation Program. Specifically, the Debtor

        is in the process of engaging with South Florida Water Management relating to issues on

        the title to his homestead property. The Debtor requires additional time to engage

        replacement counsel as well as to deal with the issues involving South Florida Water

        Management more fully.



                                                  1
              Case 22-14766-SMG
              Case 22-14766-SMG Doc
                                Doc28
                                    20 Filed
                                       Filed09/12/22
                                             09/01/22 Page
                                                       Page34
                                                            2 of
                                                              of 238



   4. As such, the Debtor requests an extension of all deadlines in this matter, including but not




                                                                                                1- J
       limited to, an extension of time to file and comply with the requirements of the Mortgage

       Modification Mediation Program.
   WHEREFORE, undersigned counsel requests that the court enter permitting the withdrawal

of Ron S. Bilu, Esquire, Nicholas G. Rossoletti, Esquire, Andrea Valencia, Esquire and Bilu Law,

P.A. and extend all deadlines in this matter, including but not limited to, an extension of time to

file and comply with the requirements of the Mortgage Modification Mediation Program.




                                                             Respectfully Submitted,

                                                            Isl Nicholas G. Rossoletti
                                                            NICHOLAS G. ROSSOLETTI
                                                            Florida Bar No. 0051466
                                                            BILU LAW, P.A.
                                                            2760 W ATLANTIC BLVD
                                                            POMPANO BEACH, FL 33069
                                                            Telephone: (954) 596-0669
                                                            Fax: (954) 427-1518
                                                            rbilu@bilulaw.com
                                                            nrossoletti@bilulaw.com
                                                            avalencia@bilulaw.com
                                                            johana@bilulaw.com




                                                 2
          Case 22-14766-SMG   Doc 28    Filed 09/12/22   Page 35 of 38

                               Ralph L. Sanders                   22-147666-SMG



                                  EXHIBITS

                                 22-14766-SMG




Attached are the following exhibits of issues in my home that are occurring

also at my neighbors


      Exhibit A: Spreadsheet of my neighbors whose homes are also

damaged, similarto mine. This is not just a Ralph Sanders issue. Cure my

home and neighbors also.


                 Within the same spreadsheet are the mortgage

companies with mortgage notes on the homes.


                  Homes with no mortgage companies are paid off-the

owners' life savings.


                  My Creditor, Wells Fargo, has mortgages on three of the

19 homes.




                                                                          1 of 4
           Case 22-14766-SMG     Doc 28   Filed 09/12/22   Page 36 of 38

                                 Ralph L. Sanders                   22-147666-SMG


       Exhibit B.   In Wells Fargo mortgages, paragraph (L) is a payment
                                                                                               #
category. "Miscellaneous Proceeds" means any compensation,                         I   )   /   I
                                                                               /
settlement, award of damages, or proceeds paid by any third party (other

than insurance proceeds paid under the coverages described in Section 5

for:


       (i) damage to, or destruction of, the Property; The City of Plantation

Utilities dredge the canal three feet downward. There should not have

been any damage on paper, but there is.


       (ii) condemnation or other taking of all or any part of the Property;

City of Plantation taking of the canal 'land' (water) as a drainage


       (iii) conveyance in lieu of condemnation; or


       (iv) misrepresentations of, or omissions as to, the value and/or

condition of the Property: Title Insurance defective Title due to Plat not

matching reality




       ExhibitC: Parties that can confirm Defective Title




                                                                            2of 4
         Case 22-14766-SMG    Doc 28   Filed 09/12/22   Page 37 of 38

                               Ralph L. Sanders                  22-147666-SMG


           I. Fidelity National Title Insurance: Attorney Tiffany Korte Sierra:

Claims


      Counsel, AVP


           2. Title Attorney: Scott Golden: Confirm title defect:

Recommended suing the City of Plantation instead of Fidelity Title

Insurance company


           3. South Florida Water Management: Chief Engineer Priest,

Gary overseeing the following two engineers


                                   SFWMD Engineers: Benoit, Brigette,

           Wood, Dustin. Taking photos and Measurement of Damages.

           Caused by missing Land


           4. Old Plantation Water Control District: Confirmed missing land

and Eminent Domain action by the City of Plantation.


My neighbors have similar issues to the point they cannot sell their homes.


I do need help with the LMM for my creditor (Wells Fargo) sake who has

three mortgaged homes in my neighborhood.




                                                                          3of 4
                •
            Case 22-14766-SMG   Doc 28   Filed 09/12/22

                                Ralph L. Sanders
                                                          Page 38 of 38

                                                                   22-147666-SMG




Sincerely
                                                                          1   I 0-)
Ralph L. Sanders


561 SW 60 th ave


Plantation, Fl. 33317




                                                                              4of 4
